   
 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA S2 20 Cr. 398 (GBD)
-~v.-
KARINA CHAIREZ,
Defendant.
a a , }

Upon the application of the United States, by the Acting
United States Attorney for the Southern District of New York,
Audrey Strauss, by Assistant United States Attorneys Kiersten A.
Fletcher, Cecilia E. Vogel, and Elizabeth A. Espinosa;

It is found that the Second Superseding Indictment in the
above-captioned action, S2 20 Cr. 398, is currently sealed and the
United States Attorney’s Office has applied to have that Second
Superseding Indictment unsealed, it is therefore

ORDERED that the Second Superseding Indictment in the above-
captioned action be unsealed and remain unsealed pending further
order of the Court.

SO ORDERED.

Dated: New York, New York

October 20, 2020 QO aa,
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hao k GEORGE B. DANIELS
UNHTED STATES DISTRICT JUDGE

 
